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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  TODD MASEL, Individually and on behalf
  of all others similarly situated,

                                Plaintiff,

                 v.                                 C.A. No. 1:24-cv-00377-RGA

  THE CHEMOURS COMPANY, MARK E.
  NEWMAN, SAMEER RALHAN, AND
  JONATHAN S. LOCK,

                                Defendants.


                        STIPULATION AND [PROPOSED] ORDER

       Plaintiff (“Plaintiff”) Todd Masel, and Defendants The Chemours Company, Mark E.

Newman, Sameer Ralhan, and Jonathan S. Lock (collectively, “Defendants,” and together with

Plaintiff, the “Parties”), by and through their undersigned counsel, hereby stipulate and agree as

follows and jointly request that the Court enter the below Order approving this Stipulation:

       WHEREAS, the Class Action Complaint for violations of the federal securities laws (the

“Complaint”) was filed in this action on March 25, 2024; and

       WHEREAS, this action is a private securities class action litigation subject to the Private

Securities Litigation Reform Act of 1995 (“PSLRA”), 15 U.S.C. § 78u-4;

       WHEREAS, the Parties anticipate that, after the Court has designated a lead plaintiff

pursuant to 15 U.S.C. § 78u-4(a)(3)(B) (“Lead Plaintiff”), the Lead Plaintiff will file a

consolidated class action complaint;

       WHEREAS, the Parties have met and conferred, and agree that a response from

Defendants to the Complaint, which will in all likelihood be superseded by a consolidated or

amended class action complaint filed by the Lead Plaintiff, would invite waste, duplicative effort,
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and needless expenditure of judicial and party resources;

       NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED THAT:

           1. The Company was served on March 26, 2024. All other Defendants shall accept

               service of the Complaint;

           2. Defendants shall not be required to move, answer, or otherwise respond to the

               Complaint until after a Lead Plaintiff has been appointed and Lead Plaintiff has

               filed an amended complaint (if any); and

           3. Within fourteen (14) days of appointment of Lead Plaintiff pursuant to 15 U.S.C.

               § 78u-4(a)(3)(B), counsel for Lead Plaintiff and Defendants shall meet and confer

               regarding scheduling and shall submit a stipulation for the Court’s approval with

               the Parties’ proposed schedule for the filing of an amended complaint (if any) and

               the filing of any motion to dismiss.

           4. Nothing herein shall be deemed to constitute a waiver of, and the Defendants do

               not waive and expressly preserve, all arguments and defenses in the above-

               captioned   action,   including    defenses   related   to   personal   jurisdiction

               notwithstanding Defendants’ agreement to accept service of the Complaint.




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Dated: April 4, 2024

      SO ORDERED this ____ day of _____________, 2024.



                                               Judge Richard G. Andrews




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